                                                                     CLOSED,APPEAL,PASSPORT
                           U.S. District Court
                     DISTRICT OF KANSAS (Wichita)
           CRIMINAL DOCKET FOR CASE #: 6:21−cr−10073−EFM−1

Case title: USA v. Capps                                 Date Filed: 09/08/2021

                                                         Date Terminated: 05/12/2023

Assigned to: Chief District Judge
Eric F. Melgren

Defendant (1)
Michael R. Capps                    represented by Kurt P. Kerns
TERMINATED: 05/12/2023                             Kerns Law Group
                                                   328 North Main
                                                   Wichita, KS 67202
                                                   316−265−5511
                                                   Fax: 316−265−4433
                                                   Alternative Phone:
                                                   Cell Phone:
                                                   Email: kurtpkerns@aol.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained
                                                   Bar Number: 15028
                                                   Bar Status: Active

Pending Counts                                   Disposition
                                                 Sentenced to 27 months imprisonment and 2 years
18:1014 False statement to a bank
                                                 supervised release on Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12,
for a PPP loan; 18:2 Aiding and
                                                 13, 14, & 15,each count running concurrently.
abetting (INDICTMENT 9/8/2021)
                                                 $1200.00 special assessment fee. $318,647.21
(1)
                                                 restitution
                                                 Sentenced to 27 months imprisonment and 2 years
18:1344(2) Bank fraud−PPP loan;
                                                 supervised release on Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12,
18:2 Aiding and abetting
                                                 13, 14, & 15,each count running concurrently.
(INDICTMENT 9/8/2021)
                                                 $1200.00 special assessment fee. $318,647.21
(2)
                                                 restitution
18:1001(a) False statement to the                Sentenced to 27 months imprisonment and 2 years
SBA for EIDL loan 18:2 Aiding                    supervised release on Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12,
and abetting (INDICTMENT                         13, 14, & 15,each count running concurrently.
9/8/2021)                                        $1200.00 special assessment fee. $318,647.21
(4−5)                                            restitution
18:1343 Wire fraud, SBA; 18:2                    Sentenced to 27 months imprisonment and 2 years
Aiding and abetting                              supervised release on Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12,


                                                                                                           1
(INDICTMENT 9/8/2021)               13, 14, & 15,each count running concurrently.
(7−8)                               $1200.00 special assessment fee. $318,647.21
                                    restitution
18:1343 Wire fraud, Kansas          Sentenced to 27 months imprisonment and 2 years
Department of Commerce; 18:2        supervised release on Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12,
Aiding and abetting                 13, 14, & 15,each count running concurrently.
(INDICTMENT 9/8/2021)               $1200.00 special assessment fee. $318,647.21
(9−10)                              restitution
                                    Sentenced to 27 months imprisonment and 2 years
18:1957 Money laundering; 18:2
                                    supervised release on Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12,
Aiding and abetting
                                    13, 14, & 15,each count running concurrently.
(INDICTMENT 9/8/2021)
                                    $1200.00 special assessment fee. $318,647.21
(12−14)
                                    restitution
                                    Sentenced to 27 months imprisonment and 2 years
18:1957 Money laundering; 18:2
                                    supervised release on Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12,
Aiding and abetting
                                    13, 14, & 15,each count running concurrently.
(INDICTMENT 9/8/2021)
                                    $1200.00 special assessment fee. $318,647.21
(15)
                                    restitution

Highest Offense Level (Opening)
Felony

Terminated Counts                   Disposition
18:1001(a) False statement to the
SBA for EID loan 18:2 Aiding and
                                    Acquitted
abetting (INDICTMENT 9/8/2021)
(3)
18:1343 Wire fraud, SBA; 18:2
Aiding and abetting
                                    Acquitted
(INDICTMENT 9/8/2021)
(6)
18:1343 Wire fraud, Sedgwick
County; 18:2 Aiding and abetting
                                    Dismissed per the Order filed 12/13/2022.
(INDICTMENT 9/8/2021)
(11)
18:1957 Money laundering; 18:2
Aiding and abetting
                                    Acquitted
(INDICTMENT 9/8/2021)
(16−19)

Highest Offense Level
(Terminated)
Felony

Complaints                          Disposition


                                                                                              2
None



Plaintiff
USA                                             represented by Alan G. Metzger
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                                                               ATTORNEY TO BE NOTICED
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                                                               Bar Status: Active

                                                               Annette Gurney
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                                                               ATTORNEY TO BE NOTICED
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                                                               Bar Status: Active

                                                               Molly M. Gordon
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                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Retained
                                                               Bar Number: 23134
                                                               Bar Status: Active
Email All Attorneys
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 Date Filed     #    Docket Text

                                                                                                            3
09/08/2021    1   INDICTMENT as to Michael R. Capps (1) count(s) 1, 2, 3, 4−5, 6−8, 9−10, 11,
                  12−19. (sz) (Entered: 09/09/2021)
09/09/2021        SUMMONS ISSUED as to Michael R. Capps Initial Appearance set for 9/22/2021 at
                  01:30 PM by Zoom before Magistrate Judge Gwynne E. Birzer. (Pretrial form
                  provided to USMS)(sz) (Entered: 09/09/2021)
09/10/2021    2   SUMMONS RETURNED EXECUTED on 9/10/2021 as to Michael R. Capps. (jk)
                  (Entered: 09/10/2021)
09/21/2021    3   ENTRY OF APPEARANCE by attorney Kurt P. Kerns appearing for Michael R.
                  Capps. (Kerns, Kurt) (Entered: 09/21/2021)
09/21/2021    4   CONSENT TO APPEAR BY VIDEO OR TELEPHONE CONFERENCE for initial
                  appearance, arraignment and detention hearing as to Michael R. Capps. (Kerns, Kurt)
                  Modified on 9/22/2021 to add additional hearings. (mam) (Entered: 09/21/2021)
09/22/2021    5   (NOTE: Access to document is restricted pursuant to the courts privacy policy.)

                  NOTICE OF SURRENDERED PASSPORT as to Michael R. Capps. (Passport
                  Number 640927769, issued by USA.) (mam) (Entered: 09/22/2021)
09/22/2021    6   MINUTE ENTRY for proceedings held before Magistrate Judge Gwynne E. Birzer:
                  RULE 5/INITIAL APPEARANCE and ARRAIGNMENT as to Michael R. Capps
                  held on 9/22/2021 by ZOOM, Count(s) 1,2,3,4−5,6−8,9−10,11,12−19. Due Process
                  Protections Act advisement given. The Government adopted the recommendations of
                  Pretrial Services for release on conditions. Defendant provided verbal consent for
                  Zoom. Defendant's next appearance per the Scheduling Order of Judge Melgren.
                  (Tape #1:31−1:41) (sz) (Entered: 09/23/2021)
09/22/2021    7   ORDER SETTING CONDITIONS OF RELEASE as to Michael R. Capps (1)
                  $25,000 unsecured bond. Signed by Magistrate Judge Gwynne E. Birzer on
                  9/22/2021. (sz) (Entered: 09/24/2021)
09/23/2021        ORDER as to Michael R. Capps − Pursuant to the Due Process Protections Act, the
                  government is reminded of its obligations pursuant to Brady v. Maryland and its
                  progeny to disclose material that is favorable to the defendant and material to
                  defendants guilt or punishment. The failure to do so in a timely manner may include
                  dismissal of the indictment or information, dismissal of individual charges, exclusion
                  of government evidence or witnesses, or any other remedy that is just under the
                  circumstances. Signed by Magistrate Judge Gwynne E. Birzer on 9/22/21. (This is a
                  TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) (ala)
                  (Entered: 09/23/2021)
09/24/2021    8   BOND POSTED as to Michael R. Capps. (sz) (Entered: 09/24/2021)
09/27/2021    9   PRETRIAL AND CRIMINAL CASE MANAGEMENT ORDER ENTERED: as to
                  Michael R. Capps. Status Conference set for 11/8/2021 at 10:15 AM in Wichita Room
                  414 (EFM) before District Judge Eric F. Melgren. Jury Trial set for 11/23/2021 at
                  09:00 AM in Wichita Courtroom 408 (EFM) before District Judge Eric F. Melgren.
                  Signed by District Judge Eric F. Melgren on 9/27/2021. (cm) (Entered: 09/27/2021)
10/27/2021   10   MOTION to Continue Status Conference and Jury Trial by Michael R. Capps. (Kerns,
                  Kurt) (Entered: 10/27/2021)
10/28/2021   11


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                  ORDER TO CONTINUE granting 10 Motion to Continue. Speedy Trial time
                  excluded from 11/23/2021 until 1/25/2022 as to Michael R. Capps (1). Status
                  Conference set for 1/12/2022 at 08:45 AM in Wichita Room 414 (EFM) before
                  District Judge Eric F. Melgren. Jury Trial set for 1/25/2022 at 09:00 AM in Wichita
                  Courtroom 408 (EFM) before District Judge Eric F. Melgren. Signed by District
                  Judge Eric F. Melgren on 10/28/2021. (sz) (Entered: 10/28/2021)
01/07/2022   12   MOTION to Continue Status Conference and Jury Trial by Michael R. Capps. (Kerns,
                  Kurt) (Entered: 01/07/2022)
01/10/2022   13   ORDER TO CONTINUE granting 12 Motion to Continue. Speedy Trial time
                  excluded from 1/12/2022 until 3/29/2022 as to Michael R. Capps (1). Status
                  Conference set for 3/14/2022 at 08:15 AM in Wichita Room 414 (EFM) before Chief
                  District Judge Eric F. Melgren. Jury Trial set for 3/29/2022 at 09:00 AM in Wichita
                  Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. Signed by Chief
                  District Judge Eric F. Melgren on 1/10/2022. (sz) (Entered: 01/10/2022)
03/02/2022   14   Joint MOTION to Continue Status Conference and Jury Trial by Michael R. Capps.
                  (Kerns, Kurt) (Entered: 03/02/2022)
03/03/2022   15   ORDER TO CONTINUE granting 14 Motion to Continue. Speedy Trial time
                  excluded from 3/14/2022 until 6/7/2022 as to Michael R. Capps (1). Status
                  Conference set for 5/31/2022 at 10:00 AM in Wichita Room 414 (EFM) before Chief
                  District Judge Eric F. Melgren. Jury Trial set for 6/7/2022 at 09:00 AM in Wichita
                  Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. Signed by Chief
                  District Judge Eric F. Melgren on 3/3/2022. (sz) (Entered: 03/03/2022)
03/03/2022   16   NOTICE OF HEARING as to Defendant Michael R. Capps THIS IS AN OFFICIAL
                  NOTICE FOR THIS HEARING (This is a TEXT ENTRY ONLY. There is no.pdf
                  document associated with this entry.) Due to a conflict on the court's calendar, the
                  Status Conference is reset for 6/1/2022 at 01:30 PM in Wichita Room 414 (EFM)
                  before Chief District Judge Eric F. Melgren. (cm) (Entered: 03/03/2022)
05/04/2022   17   MOTION to Continue Status Conference and Jury Trial by Michael R. Capps. (Kerns,
                  Kurt) (Entered: 05/04/2022)
05/05/2022   18   ORDER TO CONTINUE granting 17 Motion to Continue. Speedy Trial Time
                  excluded from 6/1/2022 until 8/16/2022 as to Michael R. Capps (1). Status
                  Conference set for 8/5/2022 at 02:00 PM in Wichita Room 414 (EFM) before Chief
                  District Judge Eric F. Melgren. Jury Trial set for 8/16/2022 at 09:00 AM in Wichita
                  Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. Signed by Chief
                  District Judge Eric F. Melgren on 5/5/2022. (sz) (Entered: 05/05/2022)
07/08/2022   19   MOTION to Continue Status Conference and Jury Trial by Michael R. Capps. (Kerns,
                  Kurt) (Entered: 07/08/2022)
07/11/2022   20   MOTION to Continue Status Conference and Jury Trial by USA as to Michael R.
                  Capps. (Metzger, Alan) (Entered: 07/11/2022)
07/12/2022   21   ORDER TO CONTINUE granting 19 Motion to Continue as to Michael R. Capps (1);
                  finding as moot 20 Motion to Continue as to Michael R. Capps (1). Status Conference
                  set for 10/31/2022 at 09:45 AM in Wichita Room 414 (EFM) before Chief District
                  Judge Eric F. Melgren. Jury Trial set for 11/15/2022 at 09:00 AM in Wichita
                  Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. Signed by Chief
                  District Judge Eric F. Melgren on 7/12/2022. (sz) (Entered: 07/12/2022)


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10/26/2022   22   MOTION in Limine by USA as to Michael R. Capps. (Attachments: # 1 Attachment
                  1, # 2 Attachment 2, # 3 Attachment 3, # 4 Attachment 4, # 5 Attachment 5, # 6
                  Attachment 6, # 7 Attachment 7, # 8 Attachment 8)(Metzger, Alan) (Entered:
                  10/26/2022)
10/26/2022   23   SEALED MOTION for Leave to File Under Seal Motion in Limine by USA as to
                  Michael R. Capps. (Attachments: # 1 Proposed Sealed Document, # 2 Proposed
                  Sealed Document Exhibit 10, # 3 Proposed Sealed Document Exhibit 15, # 4
                  Proposed Sealed Document Exhibit 23)(Metzger, Alan) (Entered: 10/26/2022)
10/27/2022   24   ORDER granting 23 Sealed Motion for Leave to File Under Seal. Counsel is directed
                  to file forthwith the requested document(s) with an event from the SEALED
                  DOCUMENTS category as to Michael R. Capps (1) Signed by Chief District Judge
                  Eric F. Melgren on 10/27/2022. (This is a TEXT ENTRY ONLY. There is no.pdf
                  document associated with this entry.) (cm) (Entered: 10/27/2022)
10/27/2022   25   SEALED MOTION in Limine by USA as to Michael R. Capps. (Attachments: # 1
                  Exhibit 10, # 2 Exhibit 15, # 3 Exhibit 23)(Metzger, Alan) (Entered: 10/27/2022)
10/28/2022   26   Amended MOTION in Limine by USA as to Michael R. Capps. (Attachments: # 1
                  Attachment 1, # 2 Attachment 2, # 3 Attachment 3, # 4 Attachment 4, # 5 Attachment
                  5, # 6 Attachment 6, # 7 Attachment 7, # 8 Attachment 8, # 9 Attachment 9)(Metzger,
                  Alan) (Entered: 10/28/2022)
10/31/2022   27   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  STATUS CONFERENCE as to Michael R. Capps held on 10/31/2022. (This is a
                  TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) (cm)
                  (Entered: 10/31/2022)
10/31/2022   28   MOTION to Continue Jury Trial by Michael R. Capps. (Kerns, Kurt) (Entered:
                  10/31/2022)
10/31/2022   29   ORDER granting 28 Motion to Continue Jury Trial. Speedy trial time excluded from
                  11/15/2022 until 12/20/2022 as to Michael R. Capps (1). Jury Trial is reset for
                  12/20/2022 at 09:00 AM in Wichita Courtroom 408 (EFM) before Chief District
                  Judge Eric F. Melgren. Signed by Chief District Judge Eric F. Melgren on
                  10/31/2022. (mam) (Entered: 10/31/2022)
10/31/2022   30   ORDER as to Michael R. Capps re 26 Amended MOTION in Limine filed by USA.
                  At the direction of Chief Judge Eric F. Melgren, defendant will file a response to the
                  Amended Motion in Limine on or before 11/7/2022. Signed by Chief District Judge
                  Eric F. Melgren on 10/31/2022. (This is a TEXT ENTRY ONLY. There is no.pdf
                  document associated with this entry.) (cm) (Entered: 10/31/2022)
10/31/2022   31   ORDER granting in part and denying in part 25 Sealed Motion as to Michael R.
                  Capps (1). Signed by Chief District Judge Eric F. Melgren on 10/31/2022. (ca)
                  (Entered: 10/31/2022)
11/01/2022   32   NOTICE OF HEARING as to Defendant Michael R. Capps THIS IS AN OFFICIAL
                  NOTICE FOR THIS HEARING (This is a TEXT ENTRY ONLY. There is no.pdf
                  document associated with this entry.) Jury Trial set for 12/12/2022 at 09:00 AM in
                  Wichita Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. Jury
                  Trial set for 12/14/2022, 12/15/2022, and 12/19/2022 at 08:30 AM in Wichita
                  Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. (cm) (Entered:
                  11/01/2022)


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11/17/2022   33   Unopposed MOTION in Limine by USA as to Michael R. Capps. (Metzger, Alan)
                  (Entered: 11/17/2022)
11/17/2022   34   TRIAL ORDER estimated trial time 4 days as to Michael R. Capps. In Limine/Jury
                  Instructions Conference set for 12/2/2022 at 01:30 PM in Wichita Courtroom 408
                  (EFM) before Chief District Judge Eric F. Melgren. Signed by Chief District Judge
                  Eric F. Melgren on 11/17/2022. (cm) (Entered: 11/17/2022)
11/17/2022   35   ORDER granting 33 Motion in Limine as to Michael R. Capps (1). Exhibit 29 may be
                  admitted into evidence during the trial of this matter without the necessity of a
                  sponsoring/foundation witness. Signed by Chief District Judge Eric F. Melgren on
                  11/17/2022. (sz) (Entered: 11/17/2022)
11/28/2022   36   EXHIBIT LIST by USA as to Michael R. Capps. (Metzger, Alan) (Entered:
                  11/28/2022)
11/28/2022   37   WITNESS LIST by USA as to Michael R. Capps. (Metzger, Alan) (Entered:
                  11/28/2022)
11/29/2022   38   AMENDED EXHIBIT LIST by USA as to Michael R. Capps. (Metzger, Alan)
                  (Entered: 11/29/2022)
11/30/2022   39   PROPOSED JURY INSTRUCTIONS by USA as to Michael R. Capps. (Metzger,
                  Alan) (Entered: 11/30/2022)
11/30/2022   40   ENTRY OF APPEARANCE on behalf of USA by Molly M. Gordon. (Gordon,
                  Molly) (Entered: 11/30/2022)
11/30/2022   41   PROPOSED JURY INSTRUCTIONS by Michael R. Capps. (Kerns, Kurt) (Entered:
                  11/30/2022)
11/30/2022   42   PROPOSED VOIR DIRE QUESTIONS by USA as to Michael R. Capps. (Metzger,
                  Alan) (Entered: 11/30/2022)
11/30/2022   43   EXHIBIT LIST by Michael R. Capps (Kerns, Kurt) (Entered: 11/30/2022)
11/30/2022   44   WITNESS LIST by Michael R. Capps (Kerns, Kurt) (Entered: 11/30/2022)
11/30/2022   45   PROPOSED VOIR DIRE QUESTIONS by Michael R. Capps (Kerns, Kurt) (Entered:
                  11/30/2022)
12/02/2022   46   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  granting 26 Motion in Limine as to Michael R. Capps (1); finding as moot 22 Motion
                  in Limine as to Michael R. Capps (1); PRETRIAL CONFERENCE as to Michael R.
                  Capps held on 12/2/2022. (Court Reporter Jo Wilkinson) (This is a TEXT ENTRY
                  ONLY. There is no.pdf document associated with this entry.) (cm) (Entered:
                  12/02/2022)
12/05/2022   47   PROPOSED JURY INSTRUCTIONS − Supplemental by USA as to Michael R.
                  Capps (Metzger, Alan) (Entered: 12/05/2022)
12/05/2022   48   NOTICE OF HEARING as to Defendant Michael R. Capps THIS IS AN OFFICIAL
                  NOTICE FOR THIS HEARING (This is a TEXT ENTRY ONLY. There is no.pdf
                  document associated with this entry.) In Court/Jury Instructions Conference set for
                  12/9/2022 at 09:00 AM in Wichita Courtroom 408 (EFM)before Chief District Judge
                  Eric F. Melgren. (cm) (Entered: 12/05/2022)



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12/05/2022   49   EXHIBIT LIST by Michael R. Capps (Kerns, Kurt) (Entered: 12/05/2022)
12/06/2022   50   WITNESS LIST by USA as to Michael R. Capps (Metzger, Alan) (Entered:
                  12/06/2022)
12/06/2022   51   PROPOSED JURY INSTRUCTIONS − Second Supplemental by USA as to Michael
                  R. Capps (Metzger, Alan) (Entered: 12/06/2022)
12/06/2022   52   PROPOSED FORFEITURE JURY INSTRUCTIONS by USA as to Michael R.
                  Capps (Metzger, Alan) (Entered: 12/06/2022)
12/07/2022   53   MOTION in Limine to Bar Expert Testimony by Michael R. Capps. (Kerns, Kurt)
                  (Entered: 12/07/2022)
12/07/2022   54   NOTICE OF HEARING as to Defendant Michael R. Capps THIS IS AN OFFICIAL
                  NOTICE FOR THIS HEARING (This is a TEXT ENTRY ONLY. There is no.pdf
                  document associated with this entry.) In Court/Jury Instructions Conference set for
                  12/9/2022 at 09:00 AM in Wichita Room 414 (EFM)before Chief District Judge Eric
                  F. Melgren. NOTE: THIS IS A LOCATION CHANGE ONLY.(cm) (Entered:
                  12/07/2022)
12/08/2022   55   WITNESS LIST by Michael R. Capps (Kerns, Kurt) (Entered: 12/08/2022)
12/08/2022   56   RESPONSE TO MOTION by USA as to Michael R. Capps re 53 MOTION in Limine
                  to Bar Expert Testimony (Metzger, Alan) (Entered: 12/08/2022)
12/09/2022   57   UNOPPOSED MOTION to Dismiss Count 11 by USA as to Michael R. Capps.
                  (Metzger, Alan) (Entered: 12/09/2022)
12/09/2022   60   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  IN COURT/JURY INSTRUCTIONS CONFERENCE as to Michael R. Capps held on
                  12/9/2022. (Court Reporter Jo Wilkinson) (This is a TEXT ENTRY ONLY. There is
                  no.pdf document associated with this entry.) (cm) (Entered: 12/14/2022)
12/12/2022   58   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  JURY TRIAL as to Michael R. Capps held on 12/12/2022. (Court Reporter Jo
                  Wilkinson) (This is a TEXT ENTRY ONLY. There is no.pdf document associated
                  with this entry.) (cm) (Entered: 12/12/2022)
12/13/2022   59   ORDER granting without prejudice 57 Unopposed Motion to Dismiss Count 11 as to
                  Michael R. Capps (1). Signed by Chief District Judge Eric F. Melgren on 12/12/2022.
                  (mam) (Entered: 12/13/2022)
12/14/2022   61   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  JURY TRIAL as to Michael R. Capps held on 12/14/2022. (Court Reporter Jo
                  Wilkinson) (This is a TEXT ENTRY ONLY. There is no.pdf document associated
                  with this entry.) (cm) (Entered: 12/14/2022)
12/15/2022   62   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  JURY TRIAL as to Michael R. Capps held on 12/15/2022. (Court Reporter Jo
                  Wilkinson) (This is a TEXT ENTRY ONLY. There is no.pdf document associated
                  with this entry.) (cm) (Entered: 12/15/2022)
12/18/2022   63   MOTION TO READ INSTRUCTIONS TO JURY AT CLOSE OF EVIDENCE by
                  Michael R. Capps. (Kerns, Kurt) Modified on 12/19/2022 to re−title. (mam) (Entered:
                  12/18/2022)


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12/19/2022   64   EXHIBIT LIST by Michael R. Capps (Kerns, Kurt) (Entered: 12/19/2022)
12/19/2022   65   ORDER denying, in open court, 63 Motion for Order as to Michael R. Capps (1)
                  Signed by Chief District Judge Eric F. Melgren on 12/19/2022. (This is a TEXT
                  ENTRY ONLY. There is no.pdf document associated with this entry.) (cm) (Entered:
                  12/19/2022)
12/19/2022   66   ORDER for Juror Lunch as to Michael R. Capps. Signed by Chief District Judge Eric
                  F. Melgren on 12/19/2022. (cm) (Entered: 12/19/2022)
12/19/2022   67   TRANSCRIPT of Jury Trial, Excerpt of James Clendenin, held 12−14−22 as to
                  Michael R. Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,
                  316−315−4334, jo_wilkinson@ksd.uscourts.gov. Transcript purchased by: Mr. Dion
                  Lefler, Wichita Eagle.

                  NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                  filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of
                  the party's intent to redact personal data identifiers from the electronic
                  transcript of the court proceeding. The policy is located on our website at
                  www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                  Redact is filed within the allotted time, this transcript will be made electronically
                  available on the date set forth below.

                  Transcript may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                  that date it may be obtained through the Court Reporter or PACER. Release of
                  Transcript Restriction set for 3/20/2023. (jw) (Entered: 12/19/2022)
12/19/2022   68   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  JURY TRIAL as to Michael R. Capps held on 12/19/2022. (Court Reporter Jo
                  Wilkinson) (This is a TEXT ENTRY ONLY. There is no.pdf document associated
                  with this entry.) (cm) (Entered: 12/19/2022)
12/19/2022   69   JURY INSTRUCTIONS as to Michael R. Capps. (sz) (Entered: 12/20/2022)
12/21/2022   70   QUESTIONS FROM THE JURY filed as to Michael R. Capps. (kas) (Entered:
                  12/21/2022)
12/21/2022   71   ORDER as to Michael R. Capps. Lunch ordered for jurors during deliberations.
                  Signed by Chief District Judge Eric F. Melgren on 12/21/2022. (cm) (Entered:
                  12/21/2022)
12/21/2022   72   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  JURY TRIAL as to Michael R. Capps concluded on 12/21/2022. (Court Reporter Jo
                  Wilkinson) (Attachments: # 1 Witness Sheet, # 2 Exhibit List Plaintiff's, # 3 Exhibit
                  List Defendant's) (cm) (Entered: 12/22/2022)
12/21/2022   73   JURY VERDICT as to Michael R. Capps (1). Defendant found Guilty on Counts 1−2,
                  4−5, 7−10 and 12−15; Not Guilty on Counts 3, 6 and 16−19. (mam) (Additional
                  attachment(s) added on 12/22/2022: # 1 Unredacted Verdict) (mam). (Entered:
                  12/22/2022)
12/21/2022   74   FORFEITURE INSTRUCTIONS TO THE JURY as to Michael R. Capps. Signed by
                  District Judge Eric F. Melgren on 12/21/2022. (mam) (Entered: 12/22/2022)
12/21/2022   75

                                                                                                          9
                  SPECIAL VERDICT FORM FOR FORFEITURE as to Michael R. Capps. (mam)
                  (Additional attachment(s) added on 12/22/2022: # 1 Unredacted Special Verdict
                  Form) (mam). (Entered: 12/22/2022)
12/27/2022   76   TRANSCRIPT of Excerpt of Jury Trial, Defense Opening Statements, held December
                  12, 2022, as to Michael R. Capps before Judge Eric F. Melgren, Court Reporter Jo
                  Wilkinson, 316−315−4334, jo_wilkinson@ksd.uscourts.gov. Transcript purchased by:
                  Ms. Molly M. Gordon.

                  NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                  filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of
                  the party's intent to redact personal data identifiers from the electronic
                  transcript of the court proceeding. The policy is located on our website at
                  www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                  Redact is filed within the allotted time, this transcript will be made electronically
                  available on the date set forth below.

                  Transcript may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                  that date it may be obtained through the Court Reporter or PACER. Release of
                  Transcript Restriction set for 3/27/2023. (jw) (Entered: 12/27/2022)
01/09/2023   77   MOTION for New Trial by Michael R. Capps. (Kerns, Kurt) (Entered: 01/09/2023)
01/12/2023   78   NOTICE OF HEARING as to Defendant Michael R. Capps THIS IS AN OFFICIAL
                  NOTICE FOR THIS HEARING (This is a TEXT ENTRY ONLY. There is no.pdf
                  document associated with this entry.) Sentencing set for 3/10/2023 at 09:30 AM in
                  Wichita Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. The court
                  failed to docket the sentencing date at the conclusion of the trial. This entry fixes that
                  error.(cm) (Entered: 01/12/2023)
01/13/2023   79   TRANSCRIPT of Excerpt of Jury Trial Volume III held December 15, 2022, as to
                  Michael R. Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,
                  316−315−4334, jo_wilkinson@ksd.uscourts.gov. Transcript purchased by: Ms. Molly
                  Gordon. Volume: III.

                  NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                  filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of
                  the party's intent to redact personal data identifiers from the electronic
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                  Redact is filed within the allotted time, this transcript will be made electronically
                  available on the date set forth below.

                  Transcript may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                  that date it may be obtained through the Court Reporter or PACER. Release of
                  Transcript Restriction set for 4/13/2023. (jw) (Entered: 01/13/2023)
01/13/2023   80   TRANSCRIPT of Excerpt of Jury Trial Volume IV held December 19, 2022, as to
                  Michael R. Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,
                  316−315−4334, jo_wilkinson@ksd.uscourts.gov. Transcript purchased by: Ms. Molly
                  Gordon. Volume: IV.


                                                                                                               10
                  NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                  filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of
                  the party's intent to redact personal data identifiers from the electronic
                  transcript of the court proceeding. The policy is located on our website at
                  www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                  Redact is filed within the allotted time, this transcript will be made electronically
                  available on the date set forth below.

                  Transcript may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                  that date it may be obtained through the Court Reporter or PACER. Release of
                  Transcript Restriction set for 4/13/2023. (jw) (Entered: 01/13/2023)
01/25/2023   81   MOTION for Preliminary Order of Forfeiture of Property by USA as to Michael R.
                  Capps. (Gurney, Annette) (Entered: 01/25/2023)
01/27/2023   82   RESPONSE TO MOTION by USA as to Michael R. Capps re 77 Motion for New
                  Trial. (Gordon, Molly) (Entered: 01/27/2023)
02/16/2023   83   PRELIMINARY ORDER OF FORFEITURE granting 81 Motion for Preliminary
                  Order of Forfeiture of Property as to Michael R. Capps (1). Signed by Chief District
                  Judge Eric F. Melgren on 2/16/2023. (sz) (Entered: 02/16/2023)
02/17/2023   84   MEMORANDUM AND ORDER denying 77 Defendant's Motion for a New Trial as
                  to Michael R. Capps (1). Signed by Chief District Judge Eric F. Melgren on
                  2/17/2023. (mam) (Entered: 02/17/2023)
02/21/2023   85   NOTICE OF HEARING as to Defendant Michael R. Capps THIS IS AN OFFICIAL
                  NOTICE FOR THIS HEARING (This is a TEXT ENTRY ONLY. There is no.pdf
                  document associated with this entry.) Due to a conflict on the Court's calendar, the
                  Sentencing is being reset for 3/30/2023 at 02:30 PM in Wichita Courtroom 408
                  (EFM) before Chief District Judge Eric F. Melgren. (cm) (Entered: 02/21/2023)
03/22/2023   86   NOTICE OF HEARING as to Defendant Michael R. Capps. THIS IS AN OFFICIAL
                  NOTICE FOR THIS HEARING. (This is a TEXT ENTRY ONLY. There is no.pdf
                  document associated with this entry.) At request of counsel, the Sentencing is reset for
                  4/24/2023 at 01:30 PM in Wichita Courtroom 408 (EFM) before Chief District Judge
                  Eric F. Melgren. Sentencing Memorandum Deadline set for 4/17/2023. (cm) (Entered:
                  03/22/2023)
04/14/2023   87   PRESENTENCE INVESTIGATION REPORT as to Michael R. Capps

                  (NOTE: Access to this document is restricted to the USA and this defendant.)

                  (USPO) (Entered: 04/14/2023)
04/14/2023   88   NOTICE OF HEARING as to Defendant Michael R. Capps THIS IS AN OFFICIAL
                  NOTICE FOR THIS HEARING (This is a TEXT ENTRY ONLY. There is no.pdf
                  document associated with this entry.) Sentencing set for 5/11/2023 at 02:00 PM in
                  Wichita Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren.
                  Sentencing Memorandum Deadline set for 5/5/2023. (cm) (Entered: 04/14/2023)
05/01/2023   89   TRANSCRIPT of Jury Trial, Testimony of Michael Capps, held December 15, 2022,
                  as to Michael R. Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,
                  316−315−4334, jo_wilkinson@ksd.uscourts.gov. Transcript purchased by: Ms. Molly


                                                                                                             11
                  Gordon.

                  NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                  filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of
                  the party's intent to redact personal data identifiers from the electronic
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                  available on the date set forth below.

                  Transcript may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                  that date it may be obtained through the Court Reporter or PACER. Release of
                  Transcript Restriction set for 7/31/2023. (jw) (Entered: 05/01/2023)
05/01/2023   90   TRANSCRIPT of Jury Trial, Testimony of Michael Capps, held December 19, 2022,
                  as to Michael R. Capps before Judge Eric F. Melgren, Court Reporter Jo Wilkinson,
                  316−315−4334, jo_wilkinson@ksd.uscourts.gov. Transcript purchased by: Ms. Molly
                  Gordon.

                  NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this
                  filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of
                  the party's intent to redact personal data identifiers from the electronic
                  transcript of the court proceeding. The policy is located on our website at
                  www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                  Redact is filed within the allotted time, this transcript will be made electronically
                  available on the date set forth below.

                  Transcript may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                  that date it may be obtained through the Court Reporter or PACER. Release of
                  Transcript Restriction set for 7/31/2023. (jw) (Entered: 05/01/2023)
05/05/2023   91   SENTENCING MEMORANDUM by USA as to Michael R. Capps (Gordon, Molly)
                  (Entered: 05/05/2023)
05/05/2023   92   SENTENCING MEMORANDUM by Michael R. Capps (Attachments: # 1 Exhibit A,
                  # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit
                  G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13
                  Exhibit M, # 14 Exhibit N, # 15 Exhibit O)(Kerns, Kurt) (Entered: 05/05/2023)
05/10/2023   93   SERVICE BY PUBLICATION filed by USA as to Michael R. Capps. Last
                  publication date April 15, 2023. (Attachments: # 1 Attachment 1)(Gurney, Annette)
                  (Entered: 05/10/2023)
05/10/2023   94   RESPONSE TO Sentencing Memorandum by USA as to Michael R. Capps (Gordon,
                  Molly) (Entered: 05/10/2023)
05/11/2023   95   MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren:
                  SENTENCING HEARING held on 5/11/2023 as to defendant Michael R. Capps.
                  Defendant was sentenced to 27 months to Bureau of Prisons and was allowed to
                  self−surrender. (Court Reporter Jo Wilkinson) (This is a TEXT ENTRY ONLY.
                  There is no.pdf document associated with this entry.) (cm) (Entered: 05/11/2023)



                                                                                                           12
05/12/2023    96   EXHIBIT LIST by Government from Sentencing for Michael R. Capps. (cm)
                   (Entered: 05/12/2023)
05/12/2023    97   AMENDED PRESENTENCE INVESTIGATION REPORT as to Michael R. Capps

                   (NOTE: Access to this document is restricted to the USA and this defendant.)

                   (USPO) (Entered: 05/12/2023)
05/12/2023    98   JUDGMENT as to Michael R. Capps (1) − Counts: 1, 2, 4, 5, 7−10, 12−15 Sentenced
                   to 27 months imprisonment and 2 years supervised release; each count, running
                   concurrently. $1200.00 special assessment fee. $318,647.21 restitution. Acquitted on
                   Counts 3, 6, 16, 17, 18, and 19. Count 11, Dismissed per the Order filed 12/13/2022.
                   Signed by Chief District Judge Eric F. Melgren on 5/12/2023. (ca) (Entered:
                   05/12/2023)
05/12/2023    99   STATEMENT OF REASONS as to Michael R. Capps re 98 Judgment.

                   (NOTE: Access to this document is restricted to the USA and this defendant.)

                   (ca) (Entered: 05/12/2023)
05/16/2023   100   MOTION to Withdraw Kurt Kerns as Attorney by Michael R. Capps. (Kerns, Kurt)
                   (Entered: 05/16/2023)
05/17/2023   101   NOTICE OF APPEAL TO 10CCA as to defendant Michael R. Capps (Kerns, Kurt)
                   (Entered: 05/17/2023)
05/26/2023         APPEAL FEE STATUS: filing fee Not Paid re: 101 Notice of Appeal on behalf of
                   Defendant Michael R. Capps. (THIS IS A TEXT ONLY ENTRY−NO DOCUMENT
                   IS ASSOCIATED WITH THIS TRANSACTION) (kas) (Entered: 05/26/2023)




                                                                                                          13
AO 245B     (Rev. 09/19 - D/KS 04/20) Judgment in a Criminal Case
            Sheet 1



                                          United States District Court
                                                           District of Kansas
           UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                       v.
                 Michael R Capps                                              Case Number: 6:21CR10073 - 001
                                                                              USM Number: 66142-509
                                                                              Defendant’s Attorney: Kurt P. Kerns

THE DEFENDANT:

‫܆‬         pleaded guilty to count(s):   .
‫܆‬         pleaded nolo contendere to count(s)       which was accepted by the court.
‫܈‬         was found guilty on count(s) 1, 2, 4, 5, 7-10, 12-15 of the Indictment after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

          Title & Section                                     Nature of Offense                          Offense Ended           Count


          See Next Page


        The defendant is sentenced as provided in pages 1 through 8 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

‫܈‬         The defendant has been found not guilty on count(s) 3, 6, 16, 17, 18, and 19 of the Indictment .

‫܈‬         Count 11 was previously dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of material changes in economic
circumstances.

                                                                                                       05/11/2023
                                                                                             Date of Imposition of Judgment


                                                                             V(ULF)0HOJUHQ
                                                                                                   Signature of Judge


                                                                                   Honorable Eric F. Melgren, Chief U.S. District Judge
                                                                                                 Name & Title of Judge

                                                                                         
                                                                                                          Date




                                                                                                                                          14
AO 245B   (Rev. 09/19 - D/KS 04/20) Judgment in a Criminal Case
          Sheet 1A
                                                                                             Judgment – Page 2 of 8
DEFENDANT:   Michael R Capps
CASE NUMBER: 6:21CR10073 - 001

                                   ADDITIONAL COUNTS OF CONVICTION
     Title & Section                                          Nature of Offense       Offense        Count
                                                                                      Ended
 18 U.S.C. § 1014              FALSE STATEMENTS TO A BANK FOR PPP LOAN, a Class B   05/04/2020          1
                               Felony

 18 U.S.C. § 1344(2)           BANK FRAUD, a Class B Felony                         05/04/2020          2

 18 U.S.C. § 1001(a)           FALSE STATEMENT TO THE SBA FOR EID LOAN, a Class D   03/31/2020          4
                               Felony

 18 U.S.C. § 1001(a)           FALSE STATEMENT TO THE SBA FOR EID LOAN, a Class D   03/31/2020          5
                               Felony

 18 U.S.C. § 1343              WIRE FRAUD, a Class C Felony                         03/31/2020          7

 18 U.S.C. § 1343              WIRE FRAUD, a Class C Felony                         03/31/2020          8

 18 U.S.C. § 1343              WIRE FRAUD, a Class C Felony                         08/19/2020          9

 18 U.S.C. § 1343              WIRE FRAUD, a Class C Felony                         08/19/2020         10

 18 U.S.C. § 1957              MONEY LAUNDERING, a Class C Felony                   05/26/2020         12

 18 U.S.C. § 1957              MONEY LAUNDERING, a Class C Felony                   05/26/2020         13

 18 U.S.C. § 1957              MONEY LAUNDERING, a Class C Felony                   05/26/2020         14

 18 U.S.C. § 1957              MONEY LAUNDERING, a Class C Felony                   05/26/2020         15




                                                                                                                  15
AO 245B     (Rev. 09/19 - D/KS 04/20) Judgment in a Criminal Case
            Sheet 2 – Imprisonment
                                                                                                                         Judgment – Page 3 of 8
DEFENDANT:   Michael R Capps
CASE NUMBER: 6:21CR10073 - 001

                                                            IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
27 months.

          Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12, 13, 14, & 15: 27 months on each count, running concurrently.

‫܈‬         The Court makes the following recommendations to the Bureau of Prisons:
          At request of defendant, designation to a facility close to family in Wichita, Kansas, to facilitate family visitation.

‫܆‬         The defendant is remanded to the custody of the United States Marshal.


‫܆‬         The defendant shall surrender to the United States Marshal for this district.

          ‫ ܆‬at      on     .

          ‫ ܆‬as notified by the United States Marshal.


‫܈‬         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ‫ ܆‬before       on     .

          ‫ ܈‬as notified by the United States Marshal.

          ‫ ܆‬as notified by the Probation or Pretrial Services Officer.


                                                                    RETURN
I have executed this judgment as follows:




 Defendant delivered on                                                  to

at                                                                    , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL



                                                                                 By
                                                                                                      Deputy U.S. Marshal




                                                                                                                                              16
AO 245B      (Rev. 09/19 - D/KS 04/20) Judgment in a Criminal Case
             Sheet 3 – Supervised Release
                                                                                                                                      Judgment – Page 4 of 8
DEFENDANT:   Michael R Capps
CASE NUMBER: 6:21CR10073 - 001

                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of 2 years.

Cts. 1, 2, 4, 5, 7, 8, 9, 10, 12, 13, 14, & 15: 2 years on each count, running concurrently.




                                                   MANDATORY CONDITIONS
1.   You must not commit another federal, state, or local crime.

2.   You must not unlawfully possess a controlled substance.

3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from imprisonment
     and at least two periodic drug tests thereafter, not to exceed eight (8) drug tests per month.

          ‫܆‬    The above drug testing condition is suspended based on the court's determination that you pose a low risk of future substance
               abuse. (Check if applicable.)

4.   ‫ ܈‬You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of restitution. (Check
        if applicable.)

5.   ‫܈‬    You must cooperate in the collection of DNA as directed by the probation officer. (Check if applicable.)

6.   ‫܆‬    You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as directed by
          the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you reside, work, are a student,
          or were convicted of a qualifying offense. (Check if applicable.)

7.   ‫܆‬    You must participate in an approved program for domestic violence. (Check if applicable.)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.




                                                                                                                                                           17
AO 245B     (Rev. 09/19 - D/KS 04/20) Judgment in a Criminal Case
            Sheet 3A – Supervised Release
                                                                                                                                    Judgment – Page 5 of 8
DEFENDANT:   Michael R Capps
CASE NUMBER: 6:21CR10073 - 001

                                   STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed because they
establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers to keep informed,
report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release from
     imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you must
     report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court or
     the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living arrangements (such
     as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in advance
     is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or
     expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take any
     items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing so. If
     you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing so. If you
     plan to change where you work or anything about your work (such as your position or your job responsibilities), you must notify the probation
     officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
     circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted of a
     felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed,
    or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or Tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first getting
    the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may, after obtaining
    court approval, require you to notify the person about the risk and you must comply with that instruction.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment containing
these conditions. I understand additional information regarding these conditions is available at the www.uscourts.gov.



Defendant's Signature                                                                                          Date




                                                                                                                                                         18
AO 245B    (Rev. 09/19 - D/KS 04/20) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                                                  Judgment – Page 6 of 8
DEFENDANT:   Michael R Capps
CASE NUMBER: 6:21CR10073 - 001

                                    SPECIAL CONDITIONS OF SUPERVISION
1.        You must not engage in any occupation, business, profession, or volunteer activity in which you have
          discretionary authority over financial matters without the approval of the U.S. Probation Officer.

2.        You must not incur new credit charges or open, or attempt to open, additional lines of credit, without the
          prior approval of the U.S. Probation Officer. You must also execute any release of information forms
          necessary for the probation officer to monitor your compliance with the credit restrictions.

3.        You must immediately provide the U.S. Probation Officer with access to any and all requested financial
          information, to include executing any release of information forms necessary for the probation office to
          obtain and/or verify said financial information.

4.        You must participate in an approved program for mental health treatment, and follow the rules and
          regulations of that program, which may include psychological counseling. You must contribute toward
          the cost, to the extent you are financially able to do so.

5.        You must take all mental health medications that are prescribed by your treating physician, and you must
          contribute toward the cost, to the extent you are financially able to do so.

6.        You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18
          U.S.C. § 1030(e)(1)), other electronic communications or data storage devices or media, or office, to a
          search conducted by a United States Probation Officer. Failure to submit to a search may be grounds for
          revocation of release. You must warn any other occupants that the premises may be subject to searches
          pursuant to this condition. An officer may conduct a search pursuant to this condition only when
          reasonable suspicion exists that you have violated a condition of supervision and that the areas to be
          searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a
          reasonable manner.


ACKNOWLEDGMENT OF CONDITIONS:
I have read or have had read to me the conditions of supervision set forth in this judgment; and I fully understand them. I have been
provided a copy of them. I understand upon finding of a violation of probation or supervised release, the Court may (1) revoke
supervision, (2) extend the term of supervision and/or (3) modify the conditions of supervision.


Defendant's Signature                                                                           Date


USPO Signature                                                                                  Date




                                                                                                                                       19
AO 245B     (Rev. 09/19 - D/KS 04/20) Judgment in a Criminal Case
            Sheet 5 – Criminal Monetary Penalties
                                                                                                                           Judgment – Page 7 of 8
DEFENDANT:   Michael R Capps
CASE NUMBER: 6:21CR10073 - 001

                                          CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the Schedule of Payments set forth in this Judgment.
                 Assessment                Restitution                    Fine             AVAA Assessment*           JVTA Assessment**

 TOTALS              $1,200                $318,647.21                   Waived                Not applicable             Not applicable



‫܆‬         The determination of restitution is deferred until         . An Amended Judgment in a Criminal Case (AO 245C) will be entered
          after such determination.

‫܈‬         The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims
must be paid before the United States is paid.

 Name of Payee                                                      Total Loss***        Restitution Ordered        Priority or Percentage

 Small Business Administration                                                                      $278,647.21
 Kansas Department of Commerce                                                                       $40,000.00

                        TOTALS                                                                      $318,647.21

‫܆‬         Restitution amount ordered pursuant to plea agreement ____.

‫܆‬         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before
          the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options set forth in this
          Judgment may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫܈‬         The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

          ‫ ܈‬the interest requirement is waived for the ‫ ܆‬fine and/or ‫ ܈‬restitution.

          ‫ ܆‬the interest requirement for the ‫ ܆‬fine and/or ‫ ܆‬restitution is modified as follows:




  *Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 **Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
***Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
   on or after September 13, 1994, but before April 23, 1996.
                                                                                                                                                20
AO 245B       (Rev. 09/19 - D/KS 04/20) Judgment in a Criminal Case
              Sheet 6 – Schedule of Payments
                                                                                                                                         Judgment – Page 8 of 8
DEFENDANT:   Michael R Capps
CASE NUMBER: 6:21CR10073 - 001

                                                    SCHEDULE OF PAYMENTS
Criminal monetary penalties are due immediately. Having assessed the defendant's ability to pay, payment of the total criminal monetary
penalties is due as follows, but this schedule in no way abrogates or modifies the government's ability to use any lawful means at any
time to satisfy any remaining criminal monetary penalty balance, even if the defendant is in full compliance with the payment schedule:

 A        ‫܆‬       Lump sum payment of $ due immediately, balance due
                  ‫ ܆‬not later than , or
                  ‫ ܆‬in accordance with ‫ ܆‬C, ‫ ܆‬D, ‫ ܆‬E, or ‫ ܆‬F below; or

 B        ‫܈‬       Payment to begin immediately (may be combined with ‫ ܆‬C, ‫ ܆‬D, or ‫ ܈‬F below); or

 C        ‫܆‬       Payment in monthly installments of not less than 5% of the defendant's monthly gross household income over a period
                  of   years to commence      days after the date of this judgment; or

 D        ‫܈‬       Payment of not less than 10% of the funds deposited each month into the inmate's trust fund account and monthly
                  installments of not less than 5% of the defendant's monthly gross household income over a period of 2 years, to
                  commence 30 days after release from imprisonment to a term of supervision; or

 E        ‫܆‬       Payment during the term of supervised release will commence within       (e.g., 30 or 60 days) after release from
                  imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
                  time; or

 F        ‫܈‬       Special instructions regarding the payment of criminal monetary penalties:

If restitution is ordered, the Clerk, U.S. District Court, may hold and accumulate restitution payments, without distribution, until the
amount accumulated is such that the minimum distribution to any restitution victim will not be less than $25.

Payments should be made to Clerk, U.S. District Court, U.S. Courthouse - Room 204, 401 N. Market, Wichita, Kansas 67202, or may
be paid electronically via Pay.Gov.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

‫܆‬         Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount and
corresponding payee, if appropriate.

 Case Number
 Defendant and Co-Defendant Names                                                          Joint and Several                Corresponding Payee,
 (including defendant number)                                   Total Amount                   Amount                          if appropriate


‫܆‬         The defendant shall pay the cost of prosecution.

‫܆‬         The defendant shall pay the following court cost(s):

‫܈‬      The defendant shall forfeit the defendant's interest in the following property to the United States. Payments against any money
       judgment ordered as part of a forfeiture order should be made payable to the United States of America, c/o United States
       Attorney, Attn: Asset Forfeiture Unit, 1200 Epic Center, 301 N. Main, Wichita, Kansas 67202.
  A. Contents of account number xxxxx4457, located in Pershing LLC account, styled as Michael R. Capps, TOD DTD 04/1 1/2019,
       located at Pershing LLC, One Pershing Plaza, Jersey City, New Jersey - $197,306.83.
*The Court noted the forfeiture of $197,306.83 should be applied to the restitution.

     B. a Forfeiture judgment in the amount of $178,193.17.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5) fine principal,
(6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution and court costs.
                                                                                                                                                              21
                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS
                                  (WICHITA DOCKET)

THE UNITED STATES OF AMERICA,             )
                                          )
                          Plaintiff,      )
v.                                        ) Case No. 6:21-cr-10073-EFM
                                          )
MICHAEL R. CAPPS,                         )
                                          )
                          Defendant,      )
__________________________________________)

                                     NOTICE OF APPEAL

       NOTICE is hereby given that Michael R. Capps, Defendant in the above-named case,

hereby appeals to the United States Court of Appeals for the Tenth Circuit from the final judgment

entered in this action of the 11th day of May, 2023.

                                              Respectfully submitted,

                                              /s/ Kurt P. Kerns
                                              Kurt P. Kerns, #15028
                                              328 North Main Street
                                              Wichita, KS 67202
                                              Telephone: (316) 265-5511
                                              Email: kurtpkerns@aol.com
                                              Counsel for Defendant Michael Capps


                               CERTIFICATE OF SERVICE

        The undersigned certifies that on May 17, 2023, a true and correct copy of the foregoing
was filed and served electronically pursuant to the CM/ECF system on all counsel of record.

                                              /s/ Kurt P. Kerns
                                               Kurt P. Kerns, #15028




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